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    .md

                           U NITED STA TES D ISTR ICT CO U RT
                           SO U TH E RN DISTR ICT O F FLO RID A

                        C A SE N O .18-80242-CR -R O SEN BER G/H U N T

  UN ITED STATE S O F AM ERIC A ,                                              Sealed
                                                                         FILED by         D.C .
  VS.

                                                                           N0k 28 2218
  A LEJA N DR O A ND R AD E CED EN O ,
                                                                           s'
                                                                            rEvEs M LARIMORE
                                                                           CLERK U.s Dls'r cT,
                                                                            s.D cfFLA.- MIAMI
                Defendant.
                                   /

                      N O TIC E O F L IS PEN D EN S R E :FO RFEITU R E

  GRANTEEIS): 1290InvestmentsLLC
 TO : A LL PER SON S W H O M A Y CLA IM BY ,THR OU G H , OR U N D ER EITH ER A
      DEFEN D AN T A N D/O R G RAN TEE any interestin the realproperty described herein.

          NO TICE IS H EREBY G IV EN ,pursuantto the provisions ofFla. Stat.j48.
                                                                               23,asmade
 applicable hereto by 28 U.S.C.j 1964,thaton December 18,2017,the United States filed a
 cdminalInform ation in theUnited StatesDistrictCourtforthe Southern DistrictofFlorida in the

 foregoingaction.Pursuantto 18U.S.C.j982(a)(1),theUnitedStatesofAmericaseekstoforfeit
 therealproperty located at1290 N.Ocean Boulevard,Palm Beach, Florida 33480,including all

 buildings, fixtures, appurtenances,im provem ents, attachments and easem ents found therein or

 thereon,and which ism ore fully described as:

               TheN orth 33.89 feetto Lot25-A and A LL ofLot26-A ofBELLO LID O , according
               to the Platthereof,asrecorded in PlatBook 11,atPage 37, ofthe Public Recordsof
               Palm Beach County,Florida;and Lot4 of Re-platof BELLO LIDO , according to
               the Platthereof,asrecorded in PlatBook 24, atPage 171,ofthePublicRecordsof
               Palm Beach County,Florida.
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               Parcelldentitk ation Number:50-43-43-03-06-000-0251.

        FU RTHER N O TICE IS H EREBY G IV EN that the provisions of 21 U .S.C.j853(k)

  prohibitany claimantto thedescribedproperty from (1)intervening in thetrialorappealofthe
  criminalcase,or(2)commencingan actionatlaw orequity againsttheUnited Statesconcerning
  thevalidity ofanyalleged interestsubsequenttothelnformation,exceptfollowing theentl'yofany

  orderofforfeitureasprovidedby21U.S.C.j853(n).
                                           R espectfully subm itted,

                                          ARIANA FAJARIDO ORSHAN
                                           UN ITED STA TES A TTORN EY

 Thisinstrum entwas                             A
 prepared by:                       By:    s/Nalina Sombuntham
                                           NalinaSombuntham ( la.BarNo.96139)
                                           A ssistantUnited StatesA ttorney
                                           E-mail:nalina.sombuntham o usdoi.gov
                                           99N .E.4th Street-7th Floor
                                           M iam i,Florida 33132
                                           Telephone:(305)961-9224
                                           Facsimile:(305)536-4089
